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_ Case 2:17-cv-00948-DEJ Filed 08/27/18 Page 1of44 Document 84
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_Case 2:17-cv-00948-DEJ_Filed_08/27/18- Page-6-of 44. Documen t84

 

 

 

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(Cose No: \1- CN- 0443)

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| Case 2:17-cv-00948-DEJ Filed 08/27/18 Page 12 of 44 Document 84
(Cose No. be tV- © (43)

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__Case 2:17-cv-00948-DE,J_ Filed 08/27/18. Page 15 of 44. Document 84
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_Case 2:17-cv-00948-DEJ_ Filed 08/27/18 Page 17 of 44 Document 84

 
(Cose Wo: 1-Ov- 0248)
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